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               UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                        Case No.:20−10057−jal
      Joe David Pitcock
                                                                    Chapter: 13
                                 Debtor(s)                          Judge: Joan A. Lloyd




                                             NOTICE
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      Please be advised that the following matter has been Entered by the Court on this date:

      ***MATTER RESCHEDULED DUE TO COVID−19 PANDEMIC*** Order of the
      Court to RESCHEDULE the hearing set for April 16, 2020 on Motion to Strip Off
      Junior Lien of The Medical Center at Albany, et al regarding House & 1 acre located at
      12385 Glasgow Road, Burkesville, KY 42717. Filed by Debtor Joe David Pitcock. 15 ,
      so ORDERED by /s/ Judge Lloyd. Hearing is rescheduled for 5/21/2020 at 09:00 AM at
      Warren Co Justice Center, Circuit Courtroom B, 1001 Center St, Bowling Green, KY
      42101(CENTRAL TIME).cc: parties of record (Goss, K)This Notice of Electronic
      Filing is the Official ORDER for this entry. No document is attached.



      Dated: 3/31/20
                                                           FOR THE COURT
      By: kg                                               Elizabeth H. Parks
      Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
